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                EXHIBIT C
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                                        August 13, 2018

Joseph E. Sandler                                                         Via PDF email only:
Sandler Reiff Lamb Rosenstein &                                      sandler@sandlerreiff.com
Birkenstock, P.C.
1025 Vermont Ave., N.W. Suite 300
Washington, D.C. 20005

 Re:    Democracy Partners et al. v. Project Veritas et al.
        Case Number: 1:17-CV-1047


 Dear Mr. Sandler:
        I write regarding your deposition of Ms. Maass last week.
       Pursuant to D.C. Rules of Professional Conduct 3.1, please advise your good faith basis to
 ask Ms. Maass if she was aware emails were sent to the Ukraine and Russian Republic from her
 Angela Brandt gmail account. When I asked you at deposition, you demurred.
         I wish to avoid another situation where your client or related parties chase her down the
 street, harassing and shouting bizarre questions at her, similar to what Lauren Windsor did in
 January 2017 with your blessing and the blessing of Bob Creamer. I also want to avoid the further
 abuse of the legal system by your creation of a false narrative.
         Please disclose any information or documents which you believe provide a good faith basis
 for asking Ms. Maas the above referenced question.
                                                              Sincerely,


                                                              ________________________
                                                              Paul A. Calli

 PAC:clmb




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